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                                             July 13, 20 16


      Via Electronic Court Filing & Regular Mail (Courtesy Copy)

      Magistrate Judge James B. Clark lii
      United States District Court of New Jersey
      Martin Luther King Building                                       V




      50 Walnut Street
      Newark, NJ 07101

      Re: D’Anto.nio v. Borough of Allendale, et als.
          Civil Action No. 2: 16-cv-0021 6 (CCC) (JBC)
          Plaintiffs Application for Default (Docket Entry #55)

      Dear Judge Clark:

             I am a defendant in this action and represent myself in this matter. This letter is filed in
      opposition to plaintiffs July 11, 2016 application cor default against myself and the other
      defendants to this action.

              As set forth    Hillary FraenkePs letter of’ yesterday to the Court on behalf of defendant,
                                in




      Passaic .River Coalition (‘PRC’) opposing plaintiffs application for default, the application is
      improper. In the first instance, no default has been entered against me, and cannot be at this time.
      As my motion to dismiss the Complaint is currently pending, and was timely filed, pursuant to
      Rule 12(a(4), the time to file an answer to the Complaint (if the motion to dismiss is denied) is
      extended. In addition, nowhere in the Court’s Letter Order of June 16, 2016, are the defendants
      required to ifie an answer to the Complaint. In fact, that Letter Order provides just the opposite, as
      Paragraph 3 states that upon filing of the Bergen County Sheriffs Motion to Dismiss, all of the
      appearing defendants in this matter will have responded to Plaintiffs Complaint. That Paragraph
      further provides that Plaintiffs Motion for Default Judgment (Docket Entry No. 12) was
      administratively terminated as moot. Nonetheless, in this application, plaintiff seeks to resurrect
      that very same application.

              Plaintiffs twisted reading of the Letter Order is self serving and completely ignores the
      terms and intent      that Letter Order. This pro se plaintiff seems intent on repeatedly filing
                           of




      frivolous papers for no other reason than to put the other parties through the time, cost and
      expense of responding to his repeated improper filings. At this time, I join in the request of
      counsel for PRC that plaintiff be required to obtain leave of Court before he is permitted to file
      any further motions in this case. in the alternative, if the Court is unwilling to
                                                                                         go that far, I would
      request that plaintiff be barred from filing any further motions as to the defendants who have
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 appeared in this case until the Court detennines the several motions to dismiss the Complaint. The
 plaintiff should not be permitted to proceed on his present course of wasting the Courts time and
 the time of the other litigants.

                                                     Respectfully submitted,


                                                     Is! Richard A. Epstein, Esq.


 cc: Michae’ A. D?Antonio (Via ECF)
     AB Counsel (Via ECF)




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